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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

ERIN O’LEARY,                                 )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )
                                              )   Civil Action No. 1:20-cv-01398 (RDA/IDD)
IT CONCEPTS, INC., et. al,                    )
                                              )
                                              )
       Defendants.                            )
                                              )

                                  NOTICE OF SETTLEMENT

       Plaintiff Erin O’Leary and Defendants IT Concepts, Inc., Amy Johnson, John Epperly,

and Pinakin Patel (collectively, “Defendants”), jointly notify this Court that they have reached a

settlement. The Parties are in the process of finalizing the settlement.

       To this end, Plaintiff and Defendants respectfully request that the Court vacate all

pending deadlines and hearings.




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DATED: May 19, 2021



                                   Respectfully submitted,
                                           /s/ ___________________
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                              CERTIFICATE OF SERVICE

        I hereby certify that on May 19, 2021, I electronically filed the foregoing NOTICE OF
SETTLEMENT with the Clerk of the Court using the CM/ECF system, which will cause a copy
of this document to be sent to:

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